5J   --        Case: 2:21-cv-03913-SDM-KAJ Doc #: 1 Filed: 07/09/21 Page: 1 of 18 PAGEID #: 1


                                                                                                                   POCHARD H'
                                                                                                                              OF
                                         IN THE UNITED STATES DISTRICT COURT
                                          FOR THE SOUTHERN DISTRICT OF OHIO                                                 "9 PM 2* 00
                                                       U^rV DIVISION
                                                                                                                 •->>.      I h.r^ J CC'IkT
                                                                                                                 ^t'UTKERN DiST OHIO

      (Enter Above the Name of the Plaintiff in this Action)


                                         vs.



               ArroAM f.^ f^oBiiQ r Qy.A5TiaTcn/^£ SR,
      (Enter above the name ofthe DBfen4ant in this Action)

          If there are ad4iiional Defendants, please list them:

               SOOG-t                                  <rACKSo]</                                    2 21CV39 13
                                                                                                       Judge Morrison
                                                                                                 MAGISTiWE JUDGE JOLSON




                                                                COMPLAINT




          I,    Parties to the action:

                Plaintiff:    Place your name and address on the lines below. The address you give must be the address where
                              the court may contact you and mail documents to yoUr A telephone number is requiredr

                                 Via/CLAJT C)AIL
                              Name - Full Name Please - PRINT

                                     rxo /V a/vAsr
                              Street Address

                                     DeAVA/r                            c>HJ 0 -^410^}
                               City, State and 2^ip Code
                                         lAG-                     ^93)
                               Telephone Number

                 If there are additional Plaintiffs in this suit, a separate piece of paper should be attached immediately behind this
                 page with their full names, addresses and telephone numbers. Ifthere are no other Plaintiffs, continue with this
                 form.                               JL
    Case: 2:21-cv-03913-SDM-KAJ Doc #: 1 Filed: 07/09/21 Page: 2 of 18 PAGEID #: 2




^                   C^nthla l^nh Pano-^/m.jo
                          IM M ^Nl^: ^T,
                             b 6.^M ■Z'^C>a/^ &HZC ^4U2(
                              140-^21-              82)
 Case: 2:21-cv-03913-SDM-KAJ Doc #: 1 Filed: 07/09/21 Page: 3 of 18 PAGEID #: 3



   Defendant(s):

   Place the name and address of each Defendant you listed in the caption on the first page of this Complaint. This
   form is invalid unless each Defendant appears with full address for proper service.

   1.                                         D. CA.^TAx^nA/^ T/?
        Name - Full Name Please

        47/                                AO 5T.                                    COLU/^GOS.                      33.1
        Address: Street, City, State and Zip Code

   2.       TA^€>N .7AC 1^ £0/3
                             E.                                      U ^TCA-s-yZLL^ o4.^4 4 8^
   3.




   4.




   S,




   6.




        Ifthere are additional Defendants, please list their names and addresses on a separate sheet of paper.

U, Subject Matter Jurisdiction

    Check the bo)t or boxes that describes your lawsuit:

    □ Title 28 U,S.C.§ 1343(3)                                                               .    .   .   .
             [A civil rights lawsuit alleging that Defendant(s) acting under color ot State law, deprived you ot a
             right secured by federal law or the Constitution.]
    □   Title 28 U.S.C§ 1331
             [A lawsuit ''arising under the Constitution, laws, or treaties of the United States. ]
    □   Title 28 US.C. § 1332(a)(n
             [A lawsuit between citizens of different states where the matter in controversy exceeds 5.75,OOU.J
         Title   i3 United States Code, Section 1317.^7
                 j;Other federal status giving the court subject matter jurisdiction.]




                                                               -2-
  Case: 2:21-cv-03913-SDM-KAJ Doc #: 1 Filed: 07/09/21 Page: 4 of 18 PAGEID #: 4
m, Statement of Claim

   Please write as briefly as possible the facts of your case. Describe how each Defendant is involved. Include the
   name of all persons involved, give dates and places.

   Number each claim separately. Use as much space as you need. You are not limited to the papers we give you.
   Attach extra sheets that deal with your statement claim immediately behind this piece of paper.


    1                             r) WrL&QA; AD.A.                                   CfNTi^TAl
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       T/JATJn>JLYO      TA.^OA/ TACVSqV, A/-/A
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       ANP PnT/4 ^Ata S/^f- ^f^OpLp                                                                     '
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                                                                                  Al^XT
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Case: 2:21-cv-03913-SDM-KAJ Doc #: 1 Filed: 07/09/21 Page: 5 of 18 PAGEID #: 5
                                    p^e.£ i


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           fOR THtPlAl^TJiFf^ CA-PxZ-Att-G/^tGiAHii .
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           /^ L               tSt F^a) AlWt- C V/t;rArA
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          Case: 2:21-cv-03913-SDM-KAJ Doc #: 1 Filed: 07/09/21 Page: 6 of 18 PAGEID #: 6
        IV, Previous lawsuits:

           if you have been a Plaintiff in a lawsuit, for each lawsuit state the case number and caption.
           (Example, Case Number: 2:08-cv-728 and Caption: John Smith vs. Jane Doel.

            Case Number                                  Cantion

      €\lFllrynb'9C:>              CaPitAL ONL Mn                                                                       L
                                                                             vs.



                                                                             vs,




        V. Relief

            In this section please state (write) briefly exactly what you want the court to do for you. Make no legal
            argument, cite no case or statutes.

                                             lirr /A1 On                                DOT'?..
                    THAN\i "/oO. \[xAU.a)T.




4:%
m,
             I state under penalty of perjury that'e foregoing is true and correct. Executed on
             ,hi. istbj, .^UUl           /
                                                              .vA!
                           (sirnh
              Signature of Plaintiff



                                                                   .4.
  Case: 2:21-cv-03913-SDM-KAJ Doc #: 1 Filed: 07/09/21 Page: 7 of 18 PAGEID #: 7
       TUSCARAWAS COUNTY COURT
                                336 East 3rd Street
                              Uhrichsville, Oh        44683

                                (Rules 4 and 9.
                            ***********



TO:   The Following Named Defendant: Pangrazio, Cynthia L


                                           120 N 2nd St
Capital One Bank (Usa) Na                  Dennison Oh 44621

              Plaintiff(s)                        Case No,: CVF2100050,

            -vs-                                  SUMMONS IN CIVIL ACTION
                                                         (Rules 4 and 9)
Pangrazio, Cynthia L


                Defendant(s'                      Judge Brad L. Hi1Iyer

                           *************



     You have been named Defendant(s) in a Complaint filed in the
   TUSCARAWAS COUNTY COURT    by the above Plaintiff(s). A copy of
the Complaint is attached hereto.

      You are hereby summoned and required to serve upon the Plaintiff's
Attorney, or upon the Plaintiff if he has no Attorney of Record, a copy
of your Answer to this Complaint within twenty-eight (28) days after
the service of this summons upon you, excluding the date of service.
Your answer must be filed with the Court within three (3) days after the
service of a copy of the Answer on the Plaintiff's Attorney.
     Failure to appear and present a defense to this Complaint will
result in a judgment by default being rendered against you for the
relief demanded in the Complaint.
Plaintiff or Attorney                           Melissa Dillehay
Atty Castricone Jr                              Clerk of Court
471 E Broad St-12th Fl
Columbus Oh 43215

Date: Feb   9, 2021                             by:
                                                   k!
                                                   Deputy Clerk


                   RETURN OF SERVICE OF SUMMONS (PERSONAL)

            Fees            I received this summons on                  20
 Mileage                    at             o'clock    M~ and made personal
                            service of itupon
                            by locating /him/her and tendering a copy of the
                            summons, a copy of the complaint and accompanying
                            document on ^                             20    .
                                 2) by posting on door of aforesaid premises.
 Total $                         3) by leaving with
                                    a responsible person.
                                  4) Other



                                   Serving Officer, Title             Return Date
Case: 2:21-cv-03913-SDM-KAJ Doc #: 1 Filed: 07/09/21 Page: 8 of 18 PAGEID #: 8
       TUSCARAWAS COUNTY COURT
                              336 East 3rd Street
                            Uhrichsville, Oh.     44683
                              (740) 922-4795

                           ************



Capital One Bank (Usa) Na                           Case No. CVF2100050

471 E Broad St-12th Fl
Columbus Oh 43215
            Plaintiff
       -vs-                                         NOTICE OF ASSIGNMENT

Pangrazio, Cynthia L

120 N 2nd St
Dennison Oh 44621
            Defendant                               Judge Brad L. Hillyer
                           ***************




     You are hereby notified that the above case has been assigned
for a Pretrial                    on Wednesday 04/14/2021   at
09:00 AM in the    TUSCARAWAS COUNTY COURT Uhrichsville, Oh 44683

Failure to appear may result in a judgment being granted against
you.




                                                    Melissa Dillehay
Date: Mar 15, 2021                                  Clerk of Court




                                                    by:
                                                        Holly M^rs         ^
                                                        Deputy Clerk



cc: Attorney Robert Castricone
       Cynthia Pangrazio
 Case: 2:21-cv-03913-SDM-KAJ Doc #: 1 Filed: 07/09/21 Page: 9 of 18 PAGEID #: 9


                                                          *' \

                                   IN THE TUSCARAWAS COUNTY COURT

CAPITAL ONE BANK(USA),N.A.
C/O Lyons, Doughty & Veldliuis. P.C.
471 East Broad Street 12th Floor
Columbus OH 43215


                                       PLAINTIFF.

VS.
                                                        CASE NO.
CYNTHIA L PANGRAZIO
 120 N 2ND ST                                           51
DENNISON OH 44621-1264



                                   DEFENDANT(S).


                                                   COMPLAINT


1.   Pursuant to the statement attached hereto Defendant(s) owes Plaintiff the sum of 53,122.66 as a result of
Defendant's non-payment of Defendant's obligation to Plaintiff under account number XXXXXXXXXXXX5725.
2. Defendant(s) is in default of the obligation to pay said balance and the same is now due and owing.
3. The defendant in this matter Is not currently on active duty in the military. Attached hereto is a form from the
Defense Manpower Data Center confirming that the defendant is not currently in the active duty military.
WHEREFORE. Plaintiff prays for judgment against Defendant(s) in the amount of the principal sum of
$3,122.66, plus costs of this action. Plaintiff does not seek recovery of attorney's fees in this action.
Plaintiff waives postjudgn^t interest.
LYONS,DOUGHTY & VELDHUIS P.C.

BY:
         Attorneys for Plaintiff
n Jackson T. Moyer                 0081119
O^Thomas R. Myers                  0041111
S'Robert D. Castricone Jr.         0097650
      Keith Esposito               0100467
471 East Broad Street 12th Floor
Columbus. OH 43215
(614)229-3888 ♦ info(^ldvlaw.com




OH 42A                                   LDV File No. 20-21249                            1/28/2021
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                                         V U so1.LI'l/iOJNJ


Cynttiia L.Pangrazio
120 N.2nd Street
Dennison, OH 44621

Congratulations! You have taken your "first step" towards generating your personalized Debt Control Action
Plan.This will provide you with a path to fdllow in which to get you and your family out of debt three to five
times faster than the plan you are currently on.You may contact your personal financial advisor as often as you
would like at no additional cost to renegotiate all of your credit card debt. We look forward to working with you
to continue to reduce your overall debt,interest and finance charges on all of your accounts.
We want you to fully understand our program and our objectives. Therefore, we encourage you to review the
enclosed material.
We were successfully able to reduce your accounts as follows;

Bank^Americaaccount endingin 4437 with an inte^rate of IZA9% w&dida balance transfer to Chase ac-
comit in tiie amount of$436T.OO with a new interestrafe of0%.          ^
Capital One account ending in 5726 with an interest rate of 17.65% we did a balance transfer     CImsc
in the amount of$3,179i)0wirii a new interest rate of0%.                                                        *
Barclay account ending in 8598 with ananterest rate of 17.99% we did a balance transfer to Oiasa atxount in
the amount of$756.04 with a new interest rate of0%.
Bank of America account ending in 3759 with an interest rate of 18.49% we did a balance transfer to Chase ac
count in the amount of $248.00 wifii a new interest rate of0%.

YF Solurtiott accouirt endingin5033inthe amount rf$2,495jOO ftmn Cental One.
On your first negotiation we saved you a total of $13,797.00 in interest and finance charges.
Note: When you receive your new credit cards, please contact your Financial Advisor, Mr. Edwin Allen.
Enclosed m this welcome package is our service guarantee agreement, stating in writing the information which
was verified and recorded on the date ofour service. Once reviewed,sign and date the agreement on the bottom
and ifpossible you can fax it to(561)282-0436, email or mail the file back to us within two to three business
days once received.

Sincerely,
Customer Service
YF SOLUTION LLC



Signature_




                      PO Box 5^537 Oriando, Florida 32859•Tel:(888)236-7391 •Fax:(561)282-0436
                          Email: Customerservice@ytsolution.com • Website: wwwwfsoiurion.com
         Case: 2:21-cv-03913-SDM-KAJ Doc #: 1 Filed: 07/09/21 Page: 11 of 18 PAGEID #: 11
                                                                                                                                                                         Page 1 of 5
                                                                                                                                          Visa Signature Account Ending in 5726
                                                                                                                            Oct. 10, 2019 - Nov. 09, 2019 1 31 days in Billing Cycle


                         Payment information                                                                                    Account Summary
  Payment Due Date                             For online and phone payments,                         Previous Balance                                               $3,077.51
                                              the deadline is 8pm ET.
  PAST DUE                                                                                            Payments                                                             $0.00

  New Balance                                   Minimum Payment Due                                    Other Credits                                                       $0.00

  $3,122.66                                     $3,122.66                                             Transactions                                                       -I- $0.00

                                                                                                      Cash Advances                                                     + $0.00
  IMPORTANT ACCOUNT UPDATES:

                                                                                                       Fees Charged                                                     + $0.00
   Your full balance is due. Any payment you make will reduce your balance
  and help pay off your debt faster. The amount you owe may differ if                                  Interest Charged                                                -b $45.15
  you've entered into a separate payment agreement.
                                                                                                       New Balance                                                  = $3,122.66


                                                                                                       Available Credit (as of Nov. 09. 2019)                                 N/A




                                                                                                                         Capitainfie
                                                                             Account Notifications
(Jy     Welcome to your account notifications. Check back here each month for
        important updates about your account.




Pay or manage your account on our mobile app or at                                                 Customer Service: 1-800-258-9319           See reverse for Important Information


                           Please send us this portim of your statement and only one check {or one money order)to
                           ensure your payment is processed promptly. Allow at least seven business days for delivety.                                                      4000^




  Payment Due Date: Past Due                                                  Account Ending in 5726

      New Balance                     Minimum Payment Due                          Amount Enclosed

      $3,122.66                       $3,122.66                                    $

        CYNTHIA L PANGRAZIO
        ISO N 2NP ST
        PCNNISON->    OH MMbai-lSbH                                                                                 Capital One
                                                                                                                    P.O. Box
        „l.l|l„l|lll,|,.n,lllllil.l||.,i.i,l.|.ll..ll.|ll|ll.,.lll|l.                                               Carol   Stream., IL   b01B7-bM15
Case: 2:21-cv-03913-SDM-KAJ Doc #: 1 Filed: 07/09/21 Page: 12 of 18 PAGEID #: 12
                                                                              001

 How can I Avoid Paving Interest Charoes? if you pay your statement's New Balance in             How do vou Process Payments? When you make a payment you authorize us to
 full by the due date, we will not charge you interest on any new transactions that post to      initiate an ACH or electronic payment that will be debited from your bank account or
 the purchase segment. If you have been paying your account in luil with no Interest             other related account. When you provide a check or check information to make a
 Charges, but then you do not pay your next New Balance in full, we will charge interest on       payment, you authorize us to use information from the check to make a one-time ACH or
 the portion of the balance that you did not pay. For Cash Advances and Special                  other electronic transfer from your bank account We may also process it as a dieck
 Transfers, we will start charging Interest on the transaction date. Certain promotional         transaction. Funds may be vnthdrawn from your bank account as soon as the same day
 offers may allow you to pay less than the total New Balance and avoid paying Interest           we process your payment.
 Charges on new purchases. Please refer to the front of your statement for additional            How do vou ApdIv Mv Payment? We generally apply payments up to your Minimum
 information.                                                                                    Payment first to the balance with the lowest APR (induding 0% APR), and then b
 How is the Interest Charge applied? Interest Charges accrue from the date of the                balances with higher APRs. We apply any part of yourpaymeni exceeding your Minimum
 transaction or the first day of the Billing Cyde. interest Charges accrue on every unpaid       Payment to the balance with the highest APR, and then to balanres with lower APRs.
 amount until it is paid in full. This means you may owe Interest Charges even if you pay        Billing Rights Summary fDoes not AddIv to Small Business Accounts^
 the entire New Balance for one Billing Cyde, but did not do so the previous Billing Cyde.       What To Do If You Think You Find A flllistake On Your Statement: If you think there
 Unpaid Interest Charges are added to the corresponding segment of your account                  is an error on your statement, write to us at:
 Do vou assess a Minimum Interest Charoe? We may assess a minimum Interest                       Capital One P.O. Box 30285 Salt Lake City, UT 84130-0285.
 Charge of $0.50 for each Billing Cycle if your account Is subject to an Interest Charge.        In your letter, give us the following information:
 How do vou Calculate the Interest Charge? We use a method called Average Daily
 Balance (induding new transactions).                                                            • Account information: Your name and account number.
 1. First, for each segment we take the beginning balance each day and add in new                • Dollar amount: The dollar amount of the suspected error.
    transactions and the periodic Interest Charge on the previous day's balance. Then we         • Description of Problem: If you think there is an entir on your bill, describe what you
    subtract any payments and credits for that segment as of that day. The result is the          believe is wrong and why you believe it Is a mistake. You must contact us within 60
    daily balance for each segment. However, if your previous statement balance was zero          days after be error appeared cm your statement. You must notify us of any potential
    or a credit amount new transactions which post to your purchase segment are not               errors in writing. You may caB us or notify us electronlcatfy, but if you do we are not
   added to the daily balance.                                                                    required to investigate any potential errors and you may have to pay the amount in
 2. Next, for ead) segment, we add       daily balances together and divide the sum by the        question. We will notify you in writing within 30 days of our receipt of your letter. While
    number of days in tite Billing Cycle. The result is the Average Daily Balance for eadt        we Investigate whether or not there has been an error, the following ere true:
    segment.                                                                                     • We cannot try to collect be amount in question, or report you as delinquent on bat
 3. At the end of each Billing Cycle, we multiply your Average Daily Balance for each            amount. The charge in question may remain on your statement, and we may continue to
    segment by dte daily periodic rate (APR divided by 365) for that segment and then we          charge you interest on bat amount But, if we determine bat we made a mistake, you
   multiply the result by the number of days in the Billing Cycle. We add the Interest            will not have to pay be amount in question or any interest or ober fees related b bat
   Charges for all segments together. The result is your total Interest Charge for the Billing    amount.
   Cycle.                                                                                        • While you do not have to pay be amount in question until we send you a notice about
 The Average Daily Balance Is referred to as the Balance Subject to Interest Rate In die         be outcome of our investigalion, you are responsible for the remainder of your balance.
 Interest Charge Calculation secdon of this Statement.                                           • We can apply any unpaid amount against your credit limit. Within 90 days of our
 NOTE: Due to rounding or a minimum Interest Charge, this calculation may vary slightly          receipt of your letter, we will send you a written notice explaining eiber bat we
 from (he Interest Charge actually assessed.                                                      corrected be error (to appear on your next statement) or be reasons we believe be bill
 How can mv Variable APR change? Your APRs may increase or decrease based on one                  is correct.
 of the following indices (reported in The Wall Street Journal). The letter code below            Your Rights If You Are Dissatisried Wib Your Purchase; If you are dissatisfied wib
 corresporrds with the letter next to your APRs in the Interest Charge Calculation section of     be goods or services that you have purchased wib your credit card, and you have bed
 this statement.                                                                                 in good faib to correct the problem wib the merchant, you may have be right not to pay
  Code next to     How do we calculate your           1 When your APR(s)will change               be Femabing amount due on the purchase. To use bis right, be foHowing must
  vour APRfst      APRfs)? Index -f- marain                                                       be true:
        P                Prime Rate + margin          iThe first day of be Billing Cycles bat     1) You must have used your crerSt card for the purchase. Purchases made wib cash
           L           3 mcnb LIBOR + margin          lend in Jan.. April. July, and OcL          advances from an ATM or wib a check th^ accesses your cre<£t card account do not

        D                 Prime Rate + margin         jfhe first day ofeach Billing Cyde.         qualify; and
                                                                                                  2)You must not yet have fully paid for be purchase.
           F            1 monb LIBOR + margin          1
                                                                                                  If aB d the oileria above are met and you are stiii dissatisfied wib be purchase,contact
  tow can 1 Avoid Membership fees? If a Renewal Notice is printed on bis statement                us in writing at Capital One, P.O. Box 30285. Salt LAe City, l/T 84130-0285. Wiiite we
 you may avoid paying an annual membership Fee by contacting Customer Service no later            investigate, be same rules apply to the disputed amount as discussed above. After we
 than 45 days after the last day in the Billing Cycle covered by this statement b request               our investigation, we wiR teH you our deci^on. At that point, if we think you owe an
 that we dose your account To avoid paying a monthly membership Fee, dose your                    amount and you do not pay we may report you as delinquent
 account and we will stop assessing your monthly membership Fee.
                                                                                                                                                                                    ETC-08
 How can I Close Mv Account? You can contact Cusbmer Service anytime b request                    @2016 Capital One. Capital Orte is a federally registered service mark           11/01/16
 that we dose your account.




                                                                                                  How do I Make Payments? You may make your payment in several ways:
Chanqina Mailing Address?
                                                                                                  1.    Online Banking by logging into your account;
You can change your address by signing into your account online or calling Customer
                                                                                                  2.    Capital One Mobile Banking app (or approved electronic devices;
Service.
                                                                                                  3.    Calling (he telephone number listed on the front of this statement and providing be
                                                                                                        required payment infonnation;
                                                                                                  4.    Sendng mail payments to be address on be frorrt of bis statement wib be
  S?: Payonllneatwww.capitalone.com                                                                      payment coupon or your account information.

                                                                                                  When will vou Credrt Mv fevment?
 ^ Pay using our mobile app                                                                      •       For mobile, online or over be phone, as of be business day we receive it, as long
                                                                                                         as it is made by 8 p.m. ET.
                                                                                                 •      For mail, as of the business day we receive it, as long as it is received by 5 p.m.
                                                                                                         local time at our processing center. You must send the bottom portion of bis
                                                                                                         statement and your check to be payment address on be front of this statement.
                                                                                                         Please allow at least seven (7) business days for mail delivery. Mailed payments
                                                                                                         received by us at any ober location or payments in any other form may not be
                                                                                                         credited as of be day we receive bem.




           Any written requests on this form wilt not be honoryt.To manage your account, please refer to your billing statement for customer service options.
   Case: 2:21-cv-03913-SDM-KAJ Doc #: 1 Filed: 07/09/21 Page: 13 of 18 PAGEID #: 13
                                                                                                                                Page 2 of 5
                                                                                                   Visa Signature Account Ending in 5726
                                                                                    Oct. 10. 2019 - Nov. 09, 2019 i 31 days in Billing Cycle


                                                                                                                                       30C079
                              Transactioris

          VlsH                          to see detailed teansactlons.

 CYNTHIA L PANGRAZiO #5726: Payments, Credits and Adjustments
Date         Description                                                 Amount



 CYNTHIA L PANGRAZIO #5726: Transactions


Date         Description                                                 Amount




 Date        Description                                                 Amount


 Total Fees for This Period                                              $0.00




 Interest Charge on Purchases                                           $45.15

 Interest Charge on Cash Advance                                          $0.00

 Interest Charge on Other Balances                                        $0.00

 Total Interest for This Period                                         $45.15


                           Totals Year-to-Date

 Total Fees cfiarged                                                  $103.00

 Total Interest charged                                               $354.95



                   Interest Charge Calculation
  Your Annual Percentage Rate (APR) is the annual interest rate on your account.

Type of                Annual Percentage      Balance Subject     Interest Charge
Balance                     RateCAPR)          to Interest Rate

Purchases                  17.15% D              $3,099.29                $45.15

Cash Advances              26.65% D                $0.00                   $0.00


 P,L,D.F = Variable Rate. See reverse of p^e I for details.
8/29/2021   Case: 2:21-cv-03913-SDM-KAJ         Doc- Southern
                             Tuscarawas County Couil #: 1 Filed:
                                                              District07/09/21
                                                                       - Docket entryPage:     14 of
                                                                                      on civil case    18 CVF
                                                                                                    number PAGEID
                                                                                                              2100050 #: 14


                         Tuscarawas County Court - Southern District
                       Docket entry on civil case number CVF 2100050
                                                    Click for case information

              Case Number: CVF 2100050
              Defendant(s): Pangrazio, Cynthia L
                     02/09/2021
                        O CASE WAS FILED WITH COURT
                         o ADDRESS CHANGED FOR CAPITAL ONE BANK(USA)NA
                         o 471 E BROAD ST-I2TH FL COLUMBUS OH 43215
                         o ADDRESS CHANGED FOR PANGRAZIO,CYNTHIA L
                         o 120N2NDSTDENNISONOH44621
                         o CIVIL FILING FEE 1 DEFT-AS OF 5/1/2020 $100.00
                         O PAYMENT - RECEIPT NO.64759 IN THE AMOUNT OF $ 100.00

                     02/18/2021
                        O SERVICE ON 02/18/2021 BY CERTIFIED


                     02/23/2021
                          O ANSWER OF DEFENDANT /S/ C. PANGRAZIO & V. WILSON(POA)

                     03/15/2021
                          O CASE SET FOR A PRE-TRIAL ON 04/14/2021 AT 9:00 AM


                     03/22/2021
                         O CIVIL COUNTERCLAIM OR CROSSCLAIM - AS OF 5/1/2020 $30.00
                         o PAYMENT - RECEIPT NO. 64948 IN THE AMOUNT OF $ 30.00

                     03/24/2021
                          O JUDGMENT ENTRY /S/ J. JACKSON,MR WILSON IS NOT PERMITTED
                         o BY HIS POWER O FATTORNEY TO REPRESENT MR PANGRAZIO IN
                             COURT
                          O OR MAKE FILINGS ON HER BEHALF,DOING SO WOULD BE
                             TANTAMOUNT
                         o AS FRACTION LAW WITHOUT A LICENSE,MS PANGRAZIO TO GET
                             ATTY

                     03/30/2021
                        O DEFENDANT FILED ANSWER


                     04/07/2021
                         o LETTER/S/C. PANGRAZIO


                     04/15/2021
                          O CASE SET FOR A COURT TRIAL ON 09/08/2021 AT 9:00 AM


                     04/21/2021
                          o NOTICE OF SERVICE /S/ R. CASTRICONE,JR, REQUEST FOR
                          o ADMISSIONS AND REQUEST FOR PRODUCTION DOCUMENTS WERE
                            SERVED
                          o ON CYNTHIA PANGRAZIO



records.tusccourtsoulhem.com/cgi-bin/mdocket.cgi?pre=CVF&num??2100050&sub=^.&type=CV&acc=                                     1/2
6/29/2021   Case: 2:21-cv-03913-SDM-KAJ         Doc- Southern
                             Tuscarawas County Court #: 1 Filed:
                                                              District07/09/21      Page:
                                                                       - DocHel entry          15 of
                                                                                      on civil case    18 CVF
                                                                                                    nurnber PAGEID
                                                                                                              2100050 #: 15

                     04/27/2021
.,     .,                O LETTER FROM DEFENDANT /S/ C.PANGRAZIO

                     05/04/2021
                         O COPY OF FEDERAL RULES OF CIVIL PROCEDURE BROUGHT IN BY
                         o DEFENDANT
                         o REQUEST FOR ADMISSIONS, FILLED OUT BY DEFENDANT,/S/ C.
                         o PANGRAZIO


                     05/07/2021
                        O FILINGS FROM DEFENDANT C. PANGRAZIO



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6/29/2021                    Tuscarawas County Court
            Case: 2:21-cv-03913-SDM-KAJ         Doc- Southern District07/09/21
                                                     #: 1 Filed:       - Information Page:
                                                                                     on civil case
                                                                                               16number
                                                                                                   of 18CVF 21OOOP0 #: 16
                                                                                                         PAGEID

                         Tuscarawas County Court - Southern District
                       Information on civil case number CVF 2100050


                                                    nick for Docket Entries



             PlaintilT 1: Capital One Bank (Usa) Na                     Plaintiff 2:
             (Plaintiff 1): C/0 Lyons, Doughty                          Address:
              Address: 471 E Broad St-12th F1                           City/State/Zip:
              City/Statc/Zip: Columbus Oh 43215                         Attorney Name:
              Attorney Name: Castricone Jr                              Attorney Code:
              Attorney Code:


              Defendant 1: Pangrazio, Cynthia L                         Defendant 2:
              Address: 120 N 2nd St                                     Address:
              City/State/Zip: Dennison Oh 44621                         City/State/Zip:

              Summons Served: 02/18/2021                                Summons Served:
              Served How: CERTIFIED                                     Served How: Undocumented
              Summons Date: 02/09/2021                                  Summons Date: 02/09/2021



              Attorney Name:                                            Attorney Name:
              Attorney Code:                                            Attorney Code:
                                                 Miscellaneous(

               Hearing Type: CT                                         Filing Date: 02/08/2021
               Flearing Date: 09/08/2021                                Cause of Action: Complaint
               Hearing Time: 09:00 AM                                   Residing Judge: BH
               Ist Hearing Date:                                        Warrant(s): None
                                                      .IlKlliCllK'Ill

               Claim Amount: 3122.66                                    Judgement (Narrative):
               Judgement Date:                                          Judgment Amount:
               Close Date:                                              Judgment Paid:.00
                                                             I ransncSioij ■-

               Payor: Vincent Wilson                                     Received By: HM
               Pay Date: 03/22/2021                                      Current Balance: .00
               Payment Type: Cash                                        Garnishment issued:
               Receipt #: 64948                                          Refund Amount: .00


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 records.tusccourtsouthern.com/cgi-bin/mcaseno.cgi?num=2100050&sub=&pre=CVF&type=CV&acc=                                    1/1
6/29/2021 Case:    2:21-cv-03913-SDM-KAJ            Doc
                    Ohio Revised Code § 1337.53(2019)      #: and
                                                     - Claims  1 Filed:
                                                                  litigation.07/09/21
                                                                              :: 2019 Ohio Page:    17 of
                                                                                           Revised Code     18Codes
                                                                                                        ;; US   PAGEID       #: 17
                                                                                                                    and Statutes US Law;; Justia




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         2019 Ohio Revised Code
         Title[13]XIII COMMERCIAL
         TRANSACTIONS - OHIO UNIFORM
         COMMERCIAL CODE
         Chapter 1337 - POWER OF ATTORNEY
         Section 1337.53 - Claims and litigation.
          Universal Citation: Ohio Rev Code § 1337-53(2019)

          UNIFORM POWER OF ATTORNEY ACT


          Article 2. AUTHORITY


          Unless the power of attorney otherwise provides,language in a power of attorney granting
          general authority with respect to claims and litigation authorizes the agent to do all of the
          following:

         (A)Assert and maintain before a court or administrative agency a claim, claim for relief,
         cause of action, counterclaim, offset, recoupment,or defense,including an action to recover
         property or other thing of value, recover damages sustained by the principal, eliminate or
          modify tax liability, or seek an injunction, specific performance,or other relief;

          (B)Bring an action to determine adverse claims or intervene or otherwise participate in
          litigation;

          (C)Seek an attachment, garnishment,order of arrest, or other preliminary, provisional, or
          intermediate relief and use an available procedure to effect or satisfy a judgment, order, or
           decree;



 httpsJ/law.justia.com/codes/ohio/2019/title-13/chapter-1337/section-1337-53/                                                                      '^'2
6/29/2021      Case: 2:21-cv-03913-SDM-KAJ
                      Ohio Revised Code § 1337.53(2019)Doc   #:and
                                                       - Claims 1 Filed:
                                                                   litigation.07/09/21   Page:Code
                                                                               2019 Ohio Revised 18 ofUS18  PAGEID
                                                                                                         Codes           #: 18
                                                                                                               and Statutes  US Law   Justia


«      4   ^




           (D)Make or accept a tender, offer ofjudgment, or admission offacts, submit a controversy
               on an agreed statement offacts, consent to examination, and bind the principal in
               litigation;

               (E)Submit to alternative dispute resolution, settle, and propose or accept a compromise;

               (F)Waive the issuance and service of process upon the principal, accept service of process,
               appear for the principal, designate persons upon which process directed to the principal
               may be served,execute and file or deliver stipulations on the principal's behalf,verify
               pleadings, seek appellate review, procure and give surety and indemnity bonds,contract
               and pay for the preparation and printing of records and briefs, receive, execute, and file or
               deliver a consent, waiver, release, confession ofjudgment,satisfaction ofjudgment,notice,
               agreement,or other instrument in connection with the prosecution, settlement, or defense
               of a daim or litigation;

               (G)Act for the principal with respect to bankruptcy or insolvency, whether voluntary or
               involuntary, concerning the principal or some other person, or with respect to a
               reorganization, receivership, or application for the appointment of a receiver or trustee that
                affects an interest of the principal in property or other thing of value;

               (H)Pay a judgment,award,or order against the principal or a settlement made in
                connection with a claim or litigation;

               (I)Receive money or other thing of value paid in settleinent of or as proceeds of a daim or
                litigation.

                Added by 129th General AssemblyFile N0.65,SB 117,§1,eff. 3/22/2012.



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